Case 3:16-cv-02749-WQH-BLM Document 105-3 Filed 07/09/19 PagelD.4006 Page 1of5

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

ENRIQUE VAZQUEZ, SERGIO
ALFONSO LOPEZ, and MARIA
VIVEROS, individually and on behalf
of themselves and others similarly
situated,

Plaintiff,

VS.

KRAFT HEINZ FOODS COMPANY,
a Pennsylvania Corporation, and
DOES 1 through 25, inclusive,

Defendants.

 

CASE NO: 16-CV-02749-WQH (BLM)
Consolidated w/
CASE NO: 17-cv-00077-WQH (BLM)

CLASS ACTION

DECLARATION OF SAHAG
MAJARIAN IT IN SUPPORT OF
PLAINTIFFS’ MOTION FOR ORDER
GRANTING PRELIMINARY
APPROVAL OF CLASS ACTION
SETTLEMENT

No Oral Argument Unless Requested By
Court

Action filed: September 8, 2016
Removed: November 7, 2016
Trial Date: None set

 

 

Declaration of Sahag Majarian II ISO Motion for Order Granting Preliminary Approval
Case No. 16-CV-02749-WQH

 
Case 3:16-cv-02749-WQH-BLM Document 105-3 Filed 07/09/19 PagelD.4007 Page 2 of 5

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Declaration of Sahag Majarian IJ ISO Motion for Order Granting Preliminary Approval
Case No. 16-CV-02749-WQH

 

 
Case 3:16-cv-02749-WQH-BLM Document 105-3 Filed 07/09/19 PagelD.4008 Page 3 of 5

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I, SAHAG MAJARIAN IL, hereby declare:

1. I am an attorney duly licensed to practice in the State of California and
am the principal of the Law Offices of Sahag Majarian II, one of the attorneys of
record for Plaintiff Enrique Vasquez in this action against Kraft Heinz Foods
Company. I have personal knowledge of the following, and if called and sworn as a
witness, I could and would competently testify thereto. This declaration is made in

support of preliminary approval of the settlement of class action in this case.

2. I graduated from Loyola Law School in 1990. Since my graduation, I
have been in private practice primarily representing consumers against insurance
companies and workers against their employers. I have devoted a significant
portion of my practice to employment law and class actions, and have been
appointed co-class counsel for the plaintiffs in no less than 50 wage and hour class
actions. A sample of these cases are: Ayvazi v. Ralph Grocery Company, LASC
Case No. BC 382980; Sandoval vs. Chevron Stations, Inc., MCSC Case No. CV
061690; Nieves v. Roy’s Worldwide, Inc., OCSC Case No. 06CC0076; Corado v.
Good Year Rubber Corp., SBSC Case No. RCV095476; Pleitez v. Johnson
Controls, LASC Case No. BC353315; Serrano v. BCI Coca Cola Bottling Co. of
L.A., LASC Case No. BC349904; Urbina v, Valley Crest Co., LASC Case No.
BC356023; Moraza v. OK International, OCSC Case No. 06CC0148; DeLuna v.
Target, LASC Case No. BC353080; Daglian v. Staples, Inc., LASC Case No.
BC375325; McCoy v. Kimko, OCSC Case No. 07CC00007; Ayvazi v. Ralphs
Grocery Company, LASC Case No. BC382980; Razo v. C & D Zodiac, Inc., OCSC
Case No 07-CC01373; Sandoval v. Chevron Stations, Inc. MCSC Case No.
CV061690; and Gomez v. Spenuzza, Inc. et al, RCSC Case No RIC524075.

3. In the employment class action arena, I have participated in over 150
class action mediations. My participation has included extensive preparation,

development of thorough knowledge of the legal issues related to certification and
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Declaration of Sahag Majarian II ISO Motion for Order Granting Preliminary Approval
Case No. 16-CV-02749-WQH

 
Case 3:16-cv-02749-WQH-BLM Document 105-3 Filed 07/09/19 PagelD.4009 Page 4of5

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liability, and full immersion and participation in the mediation and negotiation
process. I have also been designated co-class counsel in various cases where we
prevailed in contested class certification motions. These cases include Herrera v.
Mountain Meadow Mushroom Farms, Inc., SDCSC Case No. 37-2009-00092416-
CU-MT-CTI; Aguirre v. California Drop Forge, Inc., LASC Case No. BC374521;
and Marroquin v. Swissport North America, Inc., LASC Case No. BC390001;
Gutierrez v. Save Mart Supermarkets, SMSC Case No. 530955.

4, My participation in this case has included extensive preparation,
development of a thorough knowledge of the legal issues related to certification and
liability, and full immersion and preparation of exposure analysis for the violations
asserted against Kraft Heinz Foods Company. The settlement in this case was
reached after extensive negotiations during a full day mediation with an experienced
and well respected mediator Jeff Ross. Based upon the totality of circumstances, I
believe that the result achieved in this case is an extremely good outcome for all

class members.

5. Based on my experience as Class Counsel, and given the legal and
factual realities presented in this case, I believe the proposed settlement is fair,
reasonable and adequate for the class. As a result of my prior experience as class
counsel in other class actions, I am fully aware of the responsibilities I would owe as

Class Counsel to the Class in this action.

6. Finally, I am not aware of any conflict of interest between myself on
the one hand and Plaintiffs or any other Class Member on the other hand, which
would interfere with my duties as Class Counsel or impede my representation of the
proposed class.

/H/
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Declaration of Sahag Majarian II ISO Motion for Order Granting Preliminary Approval
Case No, 16-CV-02749-WQH

 
Case 3:16-cv-02749-WQH-BLM Document 105-3 Filed 07/09/19 PagelD.4010 Page 5of5

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I declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct.

Executed on July 9, 2019 at Tarzana, California.

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SHHAG MAJARIAN II

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Declaration of Sahag Majarian II ISO Motion for Order Granting Preliminary Approval
Case No. 16-CV-02749-WQH

 

 
